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                                    9   Attorneys for Defendant Wynn Las Vegas, LLC

                                   10                               UNITED STATES DISTRICT COURT
                                   11                                          DISTRICT OF NEVADA
SEMENZA KIRCHER RICKARD




                                   12
 10161 Park Run Drive, Suite 150




                                         HELEN SWARTZ, Individually,                        Case No.: 2:20-cv-430-RFB-BNW
   Telephone: (702) 835-6803
    Las Vegas, Nevada 89145




                                   13
                                                                  Plaintiff,
                                   14                                                       STIPULATION AND ORDER TO
                                         v.                                                 EXTEND TIME TO FILE REPLY BRIEF
                                   15                                                       IN SUPPORT OF MOTION TO DISMISS
                                         WYNN LAS VEGAS, LLC, a Nevada
                                   16    Limited Liability Company,                         (First Request)
                                   17
                                                                Defendant.
                                   18

                                   19          Plaintiff Helen Swartz ("Plaintiff") and Defendant Wynn Las Vegas, LLC ("Wynn")

                                   20   (together, the "Parties"), by and through their respective counsel, hereby stipulate and agree to the

                                   21   following:

                                   22          1.      Wynn was served with Plaintiff's Complaint on March 3, 2020;

                                   23          2.      On May 4, 2020, Wynn filed its Motion to Dismiss Plaintiff's Complaint (the

                                   24   "Motion"). On May 18, 2020, Plaintiff filed her Opposition to Wynn's Motion.

                                   25          3.      The Parties have agreed to continue the deadline for Wynn to file a Reply in

                                   26   support of its Motion by two (2) weeks, up to and including June 8, 2020;

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                                    1            4.     Wynn seeks additional time to file its Reply due to the limited availability of

                                    2   Wynn employees and representatives to consult with counsel regarding the preparation of its

                                    3   Reply;

                                    4            5.     Wynn also requires additional time to address Plaintiff's Opposition, given the

                                    5   nature of the arguments and allegations set forth therein;

                                    6            5.     Wynn has not previously requested an extension of the deadline to file a Reply in

                                    7   support of its Motion.

                                    8            Nothing in this stipulation shall be construed as a waiver or relinquishment of any party's

                                    9   rights, remedies, objections, or defenses, all of which are expressly reserved. This stipulation is

                                   10   submitted in good faith and not for the purpose of delay.

                                   11            Dated this 22nd day of May, 2020.
SEMENZA KIRCHER RICKARD




                                   12                                                 SEMENZA KIRCHER RICKARD
 10161 Park Run Drive, Suite 150

   Telephone: (702) 835-6803
    Las Vegas, Nevada 89145




                                   13                                                 /s/ Lawrence J. Semenza, III, Esq.
                                                                                      Lawrence J. Semenza, III, Esq., Bar No. 7174
                                   14                                                 Christopher D. Kircher, Esq., Bar No. 11176
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                                   16                                                 10161 Park Run Drive, Suite 150
                                                                                      Las Vegas, Nevada 89145
                                   17
                                                                                      Attorneys for Defendant Wynn Las Vegas, LLC
                                   18

                                   19            Dated this 22nd day of May, 2020.

                                   20                                                 FULLER, FULLER & ASSOCIATES, P.A.

                                   21                                                 /s/ Lawrence A. Fuller, Esq.
                                                                                      Lawrence A. Fuller, Esq. (pro hac vice)
                                   22                                                 12000 Biscayne Boulevard, Ste. 502
                                                                                      North Miami, Florida 33181
                                   23

                                   24                                                 Attorney for Plaintiff Helen Swartz
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                                    1                                              ORDER

                                    2          IT IS HEREBY ORDERED THAT, the time for Wynn to file a Reply in support of its

                                    3   Motion is hereby extended by two (2) weeks, up to and including June 8, 2020.

                                    4          IT IS SO ORDERED.

                                    5                                           ________________________________
                                                                            ____________________________________________
                                                                                RICHARD F. BOULWARE, II
                                    6                                       UNITED STATES MAGISTRATE JUDGE
                                                                                UNITED STATES DISTRICT JUDGE
                                    7
                                                                               DATED this 23rd day of May, 2020.
                                    8                                       DATED: ___________________

                                    9

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                                   11
SEMENZA KIRCHER RICKARD




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